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 I   Roberto R. Dulce, BAR #168910
     Attorney at Law
 2   Address: 2014 Tulare St., Suite 633
     Fresno, CA 93721
 3   Telephone: (559) 214-0320
     Email: roberto@dulce-law.com
 4

 5   Attorney for Defendant Christian Urena

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 8
                                       UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA


11
       UNITED STATES Of AMERICA.                      No. l-22CR-00223-JLT-l
12
                          Plaintiff,
13                                                MOTION TO TERMINATE C.JA
              V.                                  APPOINTMENT OFROBERTO R. DULCE
14                                                ASATTORNEYOFRECORD
                                                   __________           AND
       Christian Urena,                           [PROPOSED ORDER]
                          Defendant.
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19           On or about August 27, 2023, Defendant Christian Urena sought leave of the court to

20   request for an Early Termination of Supervised Release. CJA Panel Attorney Roberto R. Dulce
21   was appointed as counsel to represent Mr. Urena on August 30, 2023 in connection with this

22   request. On or about September 28, 2023, Mr. Urena's Motion to Modify Conditions of Release

23   was granted by the court. Thereafter, no further substantive actions were taken in connection with

24   this matter. The trial phase of Mr. Urena's case has, therefore, come to an end. !laving

25   completed his representation of Mr. Urena, CJA attorney Roberto R. Dulce now moves to

26   terminate his appointment under the Criminal Justice Act.
27           Should Mr. Urena require further legal assistance he has been advised to contact the

28   Onice of the Federal Defender for the Eastern District of California by mail at 2300 Tulare Street,
       Case 1:22-cr-00223-JLT          Document 17        Filed 02/14/25      Page 2 of 2

  I   Suite 330, Fresno, CA93721, or by phone at (559) 487-5561 (collect) or (855) 656-4360 (toll-

 2    free), which, if appropriate, will arrange lor the re-appointment of counsel to assist him/her.

 J    Dated: January 27,2025                                 Respectfully submitted,
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 5                                                            ,jr)../*,.{^Iu ,L'
                                                             AttMrey's Nami Attonrey for
 6                                                           Defendant Christian Urena
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                                              ---------------- ORDER
                                             IPROPOSEDI
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 9             Flaving revicwed the noticc and found that attorney
                                                            -      Roberto R. Dulce has completeci thc

l0    serv'ices fbr which he was appointed, the Court hereby grants attorney Roberto I{. Dulce's rcquest

ll    firr leavc to withdraw as defense counsel in this matter. Should Dcfendant seek further legal

t2    assistance, Def'endant is adviscd to contact the Office of the Federal Defender fbr the Bastern

l3    District of Califbrniaat2300 'lulare Street, Suite 330. Fresno, CA93721. 'fhe phone nurnber lbr

t4    the ofllce is (559) 487-5561 (collect) or (855) 656-4360 (toll-free). If appropriate. thc otlice will

l5    arrange fbr the reappointment olcounsel to assist Def-endant.

l6             The Clerk of Court is directcd to serve a copy of this order on Del'cndant Christian Llrena

17    at the fbllowing address and to update the docket to reflect Det'endant's pro se status and contact

r8    inlomration.

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      837 W. Califbmia,
20    Fresno. CA93706

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      IT IS SO ORDEREI)

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24    Dated:   February 13, 2025
                                                             UNI'ftiD SI'A'ftlS DIS'[RIC'f JLJDGE
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